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     UNITED STATES COURT OF APPEALS FOR THE SEVENTH CIRCUIT


Everett McKinley Dirksen United States Courthouse                                         Office of the Clerk
        Room 2722 - 219 S. Dearborn Street                                               Phone: (312) 435-5850
              Chicago, Illinois 60604                                                    www.ca7.uscourts.gov




                                                          ORDER
 March 25, 2015
                                                            Before
                                      FRANK H. EASTERBROOK, Circuit Judge

                                      DIANE S. SYKES, Circuit Judge

                                      JOHN DANIEL TINDER, Circuit Judge


                                         RUTHELLE FRANK, et al.,
                                         Plaintiffs - Appellees

                                         v.
 Nos. 14-2058

                                         SCOTT WALKER, in his official capacity as Governor of State of
                                         Wisconsin, et al.,
                                         Defendants - Appellants

                                         LEAGUE OF UNITED LATIN AMERICAN CITIZENS OF
                                         WISCONSIN, et al.,
                                         Plaintiffs - Appellees

 No. 14-2059
                                         v.

                                         DAVID G. DEININGER, et al.,
                                         Defendants - Appellants

  Originating Case Information:

 District Court Nos: 2:11-cv-01128-LA & 2:12-cv-00185-LA
 Eastern District of Wisconsin
 District Judge Lynn Adelman


           The following are before the court:




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         1.       EMERGENCY MOTION TO EXTEND THE STAY OF, OR RECALL
                  AND STAY, THE MANDATE THROUGH THE CONCLUSION OF
                  THE APRIL 7, 2015 ELECTIONS, filed on March 23, 2015, by counsel for
                  the appellees.

         2.       DEFENDANTS-APPELLANTS’ RESPONSE TO PLAINTIFFS-
                  APPELLEES’ EMERGENCY MOTION TO EXTEND THE STAY OF, OR
                  RECALL AND STAY, THE MANDATE THROUGH THE
                  CONCLUSION OF THE APRIL 7, 2015, ELECTIONS, filed on March 24,
                  2015, by counsel for the appellants.

       Last fall this court issued an order leaving in place the district court’s injunction
against application of 2011 Wis. Act 23 until the Supreme Court had acted on a petition
for a writ of certiorari. Our order provided that, if the Supreme Court denied the
petition, the stay would expire automatically (for our opinion on the merits had
reversed the injunction). On March 23, 2015, the Supreme Court denied the petition, so
the stay has expired and the injunction is no longer in effect.

       Plaintiffs have filed an application for a new stay, which would reinstate the
now-reversed injunction, contending that it is too late to require photo ID (as the 2011
Act contemplates) for elections scheduled for April 7, 2015. We called for a response,
and defendants represent that they agree with that position and will not apply the 2011
Act to the impending election.

       There is accordingly no controversy requiring judicial resolution, and the
application for a renewed stay is DENIED as moot.




 form name: c7_Order_3J(form ID: 177)




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